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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


                                                          Case No. 1:19-cr-10080-NMG
    UNITED STATES OF AMERICA
                                                          Public Version of Sealed Filing
         v.
    GREGORY COLBURN et al.,                               Leave to File Under Seal Granted
                                                          September 16, 2021, in ECF 2222
         Defendants.


           DEFENDANT JOHN WILSON’S OPPOSITION TO NON-PARTY
         UNIVERSITY OF SOUTHERN CALIFORNIA’S MOTION TO QUASH

        Defendant John Wilson opposes the University of Southern California’s Motion to Quash

request 2 of his Rule 17 trial subpoena requesting gift receipts for donations made by the families

of 18 USC students.1 The burden of complying with this subpoena request should be minimal,

as these gift receipts are single-page documents that USC almost certainly keeps in a central

location. USC has not claimed otherwise. The gift receipts Wilson seeks also are wholly distinct

from any prior subpoena request to USC.

        The Government has charged Wilson with various counts, including filing a false tax

return. E.g., Fourth Superseding Indictment, Count Thirteen (D.E. 732) (hereinafter “FSI”). The

Government alleges that Wilson committed tax fraud when he deducted $220,000 intended as a

donation to USC because the value of Wilson’s son’s admission should have been offset from

the donation. Federal law requires a charitable organization in receipt of a donation to alert the

donor of any goods or services that the organization provided to the donor in exchange for the

donation and the estimated value of those goods and services. 26 U.S.C. § 6115. This

notification is required because if the donor claims the donation as a charitable deduction on his




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       USC also moved to quash request 1 of the subpoena. Defendant Wilson drops that
request, thus USC’s motion regarding request 1 is now moot.

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tax returns the donor must first offset the value of the goods or services from the donated

amount. For goods or services that have no set market value, such as the favorable admissions

consideration the Government alleges here is an improper quid pro quo, the appropriate value for

any offset is determined by reference to how the charitable organization treats similar situations.

       The gift receipts that Wilson seeks are probative evidence that USC does not offset the

value of a student’s admission from a family’s donation as a quid pro quo contribution, even

when USC is well aware of the connection between the donation and a student’s admission. This

evidence is critical for Wilson to establish his defense to the Government’s tax charge. It will

prove that Wilson lacked the requisite state of mind to commit tax fraud, and support the

alternate tax calculation that he is entitled to offer. The proposed evidence thus satisfies Federal

Rule of Criminal Procedure 17 and United States v. Nixon, 418 U.S. 683, 700 (1974).

                                          ARGUMENT

       The FSI alleges that though individuals are permitted to “deduct contributions to

501(c)(3) entities from their taxable income,” deductions are not allowed unless “substantiated

by a written acknowledgement from the recipient organization indicating whether any goods or

services were provided for the contribution” and “providing a good faith estimate” of any goods

or services received. FSI ¶ 62-63. Wilson intended to donate $220,000 for USC, a charitable

organization. Wilson received a letter from USC acknowledging $100,000 of the donation (as

well as a letter from Singer’s Foundation acknowledging a separate $100,000 donation). The

USC acknowledgment lacked any notification that goods or services were provided for his

donation.

       As with any other charge he faces, Wilson is entitled to present his defense to the

Government’s charge of tax fraud. See Chambers v. Mississippi, 410 U.S. 284, 289-90 (1973)



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(reversing conviction because defendant was denied the opportunity to present certain evidence

which inhibited the presentation of a full defense and violated due process). When an individual

is charged with filing a false tax return, one of the elements that the Government must prove is

willfulness. Boulware v. United States, 552 U.S. 421, 431 (2008) (confirming that “the

substantive provisions defining . . . filing a false return expressly require” that the Government

prove the element of willfulness at trial). A defendant is entitled to present his own evidence

negating willfulness. See Cheek v. United States, 498 U.S. 192, (1991) (“Willfulness . . .

requires the Government to prove that the law imposed a duty on the defendant, that the

defendant knew of this duty, and that he voluntarily and intentionally violated that duty. . . .

[C]arrying this burden requires negating a defendant's claim of ignorance of the law or a claim

that because of a misunderstanding of the law, he had a good-faith belief that he was not

violating any of the provisions of the tax laws.”). Further, when the government alleges, as it

does here, that the defendant owes a tax deficiency, the defendant is entitled to present an

alternative calculation of his tax liability for the jury to consider. See Boulware v. United States,

552 U.S. 421, 424, 426-28 (2008) (quoting Sansone v. United States, 380 U.S. 343, 351 (1965))

(vacating order affirming convictions where district court precluded defendant from proffering

and presenting evidence of alternative tax calculation).

       The evidence that Wilson seeks—gift receipts reflecting how USC treated the donations

of the families of 18 USC students—is essential to Wilson’s defense as it negates the element of

willfulness and supports his alternative tax liability calculation. The evidence requested is

probative of the fact that when USC is fully aware of the connection between a student’s

admission and a family’s donation USC does not consider, acknowledge, or value the student’s

admission or similar benefits as an in-kind good or service to be offset from the donation. That



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no value has historically been assigned to a student’s admission by USC supports Wilson’s

defense that he was not violating an existing legal duty and lends credibility to his beliefs about

any duties he owed. Further, how USC dealt with donations by other families is a valid 2—and

likely the only—basis for Wilson to calculate his alternative tax liability.




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        The regulations accompanying 26 U.S.C. § 6115 provide for the estimation of value by
referencing comparable (not identical) goods and services. 26 C.F.R. § 1.6115-1 (“A good faith
estimate of the value of goods or services that are not generally available in a commercial
transaction may be determined by reference to the fair market value of similar or comparable
goods or services. Goods or services may be similar or comparable even though they do not have
the unique qualities of the goods or services that are being valued.”).
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How USC handled these families’ donations—as a quid pro quo donations or not— and if quid

pro quo donations what value USC ascribed to admissions and scholarships—is information

necessary to determining the proper calculation of tax liability (if any) for donations like

Wilson’s.

        The evidence requested is essential for Wilson to enjoy his right to present a full defense

to the tax fraud charge that he faces. USC’s arguments against providing it are meritless and risk

great prejudice to Wilson’s rights. First, contrary to USC’s contentions (Mot. at 7-9), Wilson has

never sought these documents before, that is, the gift receipts issued by USC. Thus, USC’s

hollow complaints about repeated subpoenas and purportedly negotiated resolutions of prior

subpoenas are immaterial. As the procedural history USC itself cites establishes, there is nothing

improper about serial document subpoenas. Second, USC complains that the information Wilson

seeks concerning these 18 families is not comparable to Wilson’s alleged conduct (Mot. at 7).


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That is not a ground to quash a Rule 17 subpoena, and USC cites no authority to the contrary.

For purposes of Wilson’s defense, it does not matter whether the other students were admitted

through Subco or a VIP process, or whether there were differences between their applications

and that of Wilson’s son. Rather, the key issue is the value USC placed on admission to USC. In

any event, the issue of whether the circumstances of these 18 families are similar to that of

Wilson’s family, should the Government choose to raise this issue at trial, is one that the jury

will resolve. Third, Wilson respects the privacy of the families whose records his subpoena

seeks. And there are various mechanisms by which the parties may present this information at

trial to minimize (if not eliminate) any infringement of those privacy records. 9 But Wilson’s

liberty interests are at stake and surely trump the privacy interests that USC attempts to raise on

behalf of others.

                                         CONCLUSION

       The 18 gift receipts that Wilson requests from USC are central to his ability to present a

full defense to the Government’s tax charge. USC’s concerns are either mooted, meritless, or

easily mitigated. Wilson respectfully requests that this Court deny USC’s motion to quash.




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        This Court has entered a protective order specifically tailored to provide adequate privacy
protections for students, alumni, and their families.

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 Respectfully submitted,

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 Date: September 16, 2021

                                CERTIFICATE OF SERVICE

       I hereby certify that the above document is being filed on the date appearing in the header
through the ECF system, which will send true copies to the attorneys of record.

                                             /s/ Michael Kendall




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